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 6   Attorney for Defendant
     Tracy Painter
 7
                                   UNITED STATES DISTRICT COURT
 8
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     United States of America,                       )   Case No.: 2:10-Cr-223-JAM
11                                                   )
                      Plaintiff,                     )   STIPULATION AND ORDER TO
12                                                   )   MODIFY CONDITIONS OF PROBATION
            vs.                                      )   TO ELIMINATE THE DRUG TESTING
13                                                   )   CONDITION
     Tracy Painter,                                  )
14                                                   )
                      Defendant                      )
15                                                   )
                                                     )
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                                                     )
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18                                 FACTS AND PROCEDURAL HISTORY
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            On October 28, 2014, defendant, Tracy Painter, appeared for judgment and sentencing, in
21
     the instant case, before The Honorable John A. Mendez, United States District Judge. Among
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     other conditions, the Court imposed, as a condition of probation that: “The Defendant shall
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     submit to one drug test within 15 days of release on probation and at least two periodic drug tests
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     thereafter, not to exceed four (4) drug tests per month.”
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 1          In the Presentence Report, on page 31, paragraph 105, the Probation Officer wrote, "The
 2   defendant has no substance abuse issues...," and yet, on page 35, special condition of probation
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     number 6, the PSR recommended drug testing. Frankly, at sentencing, counsel for defendant
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     inappropriately failed to object to the imposition of the drug testing condition as a condition of
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     probation when there was no factual basis on which to base such a condition.
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            Once the above facts were pointed out to counsel for defendant, counsel for the
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     government was contacted as was the assigned probation officer, Chris Muira. All parties agreed
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     a drug testing condition was not only inappropriate, but factually not needed.
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     STIPULATION
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            Plaintiff, United States, and Defendant Tracy Painter, through their undersigned counsel,
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     hereby stipulate and agree that the drug testing condition, imposed as a condition of probation,
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     requiring one drug test within 15 days of release on probation and at least two periodic drug tests
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     thereafter, not to exceed four (4) test per month, is hereby eliminated as a condition of probation.
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     That is, there shall be no drug testing imposed as a condition of probation.
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            IT IS SO STIPULATED.
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     DATED:         December 3, 2014                       BENJAMIN B. WAGNER
20                                                         United States Attorney

21                                                         /s/ Philip Ferrari
                                                           by
22                                                         Philip Ferrari by Jan Karowsky w/
                                                           Mr. Ferrari’s permission
23                                                         Assistant U.S. Attorney
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 1   DATED:        December 3, 2014              JAN DAVID KAROWSKY
                                                 Attorney at Law
 2                                               A Professional Corporation
 3
                                                 /s/ Jan Karowsky
 4
                                                 by
 5                                               JAN DAVID KAROWSKY
                                                 Attorney for Defendant
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           IT IS SO ORDERED.
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     Dated: 12/3/2014
 9                                        /s/ John A. Mendez______________
                                          JOHN A. MENDEZ
10                                        United States District Court Judge
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